         Case 3:17-cr-00002-DJH Document 1 Filed 12/19/16 Page 1 of 1 PageID #: 1


AO 91 (Rev. 11/11) Criminal Complaint
                                                                                                                           FILED
                                                                                                                  VANESSA LARMSTRowe C' SRK

                                    UNITED STATES DISTRICT COURT                                                           uu;   1.~ .Luto
                                                                   for the
                                                    Western District of Kentucky
                                                                                                                w,~.S~ DISTRICT COUMT
                                                                                                                   eST N. DtSI KENTUCKY
                  United States of America                             )
                               v.                                      )
                                                                       )      Case No.
                   Stephen Kyle Goodlett
                                                                       )
                                                                       )
                                                                       )
                                                                       )
                          Defendant(s)


                                                 CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of          Aug. 2005 through Oct. 13, 2016          in the county of                    Larue                in the
     Western           District of _ ___:_:Ke=-:nc..:..:t=uc=-:k~y___ , the defendant(s) violated:

            Code Section                                                         Offense Description
18 USC 2252A(a)(1)                              Transportation of child pornography
18 USC 2252A(a)(5)(B)                           Possession of child pornography




         This criminal complaint is based on these facts:
See attached affidavit




         if Continued on the attached sheet.




                                                                                                     Printed name and title

Sworn to before me and signed in my presence.


Date:             12/19/2016
                                                                                                       Judge's signature

City and state:                          Louisville, KY                                   U.S. Magistrate Judge Dave Whalin
                                                                                                     Printed name and title
